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                         **NOT FOR PRINTED PUBLICATION**

                      IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                                 LUFKIN DIVISION

UNITED STATES OF AMERICA                        §
                                                §
                                                § CASE NUMBER 9:21-CR-00026-RC
v.                                              §
                                                §
                                                §
MATTHEW DIXON                                   §
                                                §

        ORDER ACCEPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

       The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

Procedure. Judge Zack Hawthorn conducted a hearing in the form and manner prescribed by

Federal Rule of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on

Guilty Plea Before the United States Magistrate Judge. The magistrate judge recommended that

the court accept the Defendant’s guilty plea. He further recommended that the court adjudge the

Defendant guilty on Counts One and Three of the Indictment filed against the Defendant.

       The parties have not objected to the magistrate judge’s findings. The court ORDERS

that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

Judge are ACCEPTED. The court accepts the Defendant’s plea but defers acceptance of the

plea agreement until after review of the presentence report.          The court ORDERS the

Defendant’s attorney to read and discuss the presentence report with the Defendant, and file any

objections to the report BEFORE the date of the sentencing hearing.
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       It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the Defendant, Matthew Dixon, is adjudged

guilty as to Counts One (charging a violation of 21 U.S.C. § 841(a)(1) (Possession with Intent to

Distribute “Actual” Methamphetamine)) and Three (charging a violation of 18 U.S.C.

§922(g)(1)(Possession of a Firearm by a Prohibited Person).




       So Ordered and Signed
       Oct 29, 2021
